Case 8:21-cv-01943-JLS-KES Document 24-9 Filed 04/22/22 Page 1 of 7 Page ID #:302




                          EXHIBIT 8
Case 8:21-cv-01943-JLS-KES Document 24-9 Filed 04/22/22 Page 2 of 7 Page ID #:303
         Case
3/26/22, 11:22 AM8:21-cv-01943-JLS-KES       DocumentPress
                                                         24-9- Software
                                                                 FiledFreedom
                                                                        04/22/22     Page 3 of 7 Page ID #:304
                                                                              Conservancy

    egalitarian community of users, developers, and consumers. When functioning correctly, each individual and
    organization that participates in FOSS stands on equal footing with everyone else. Licenses like the GPL have
    rules to assure everyone's rights in that ecosystem are treated with equal respect and reverence. This is why
    compliance with these rules is important and we must stand up against companies who refuse to comply.

    Q: But, I'm not a software developer. Why should I care at all that Vizio won’t let me
    modify and reinstall GPL’d components in its SmartCast system?
    Right-to-repair software is essential for everyone, even if you don't know how to make the repairs yourself.
    Once upon a time, we had lots of local vendors that could repair and fix TVs when they broke. That’s because
    TVs were once analog hardware devices that could be taken apart and understood merely by inspection from
    someone with the sufficient knowledge. TVs today are simply a little computer attached to a large display. As
    such, the most important part that needs repairs is usually when the software malfunctions, has bugs, or
    otherwise needs upgrades and changes. The GPL was specifically designed to assure such fixes could be
    done, and that consumers (or agents those consumers hire on the open market) can make such repairs and
    changes.

    Q: Alright, that makes sense, but I’m happy with Vizio’s SmartCast right now. What
    difference does it make to me if Vizio won’t give me the rights under the GPL?

    Time and time again, companies stop supporting the software build for the device long before the computer
    inside the device fails. In other words, these devices are built for planned premature obsolescence.

    By refusing to comply with the pro-consumer terms of the GPL, Vizio has the power to disable your TV at
    any time it wants, over your internet connection, without your knowledge or consent. If Vizio complied with
    the GPL, all would not be lost in this scenario: volunteers and third-party entities could take GPL’d software
    as a basis for a replacement for SmartCast. Without these rights, consumers are essentially forced to purchase
    new devices when they could be repaired.

    Q: Creation of a replacement for SmartCast seems far-fetched to me. After all, most of
    the software in SmartCast is not actually GPL’d, only a portion of the components and
    programs are GPL’d. How will Vizio's compliance with the GPL actually lead to an
    alternative firmware?
    Years ago, people said the very same thing about wireless routers, which had only partially GPL'd firmwares.
    However, thanks to actions to enforce the GPL in the wireless router market, the OpenWrt project was born!
    That project is now the premiere replacement software for wireless routers from almost every major
    manufacturer on the market. There is now healthy competition and even occasional cooperation between a
    hobbyist and community-led firmware project and the wireless router manufacturers. We believe the same can
    happen for TVs, but the first step is assuring the entire TV market complies with the GPL.

    Q: What indications do you have that compliance with the GPL will be a catalyst for
    alternative firmwares?

    Beyond the OpenWrt example, Software Freedom Conservancy sued 14 defendants for GPL violations in
    2009, including Samsung for its 2009-era TV models. Thanks to the source release that was achieved through
    the settlement of that lawsuit, a community-led SamyGo project was created for that era of TVs. (source)

    Q: Who is the plaintiff in the lawsuit?


https://sfconservancy.org/press/qanda.html                                                                           2/6
         Case
3/26/22, 11:22 AM8:21-cv-01943-JLS-KES       DocumentPress24-9- Software
                                                                  FiledFreedom
                                                                         04/22/22     Page 4 of 7 Page ID #:305
                                                                               Conservancy

    Software Freedom Conservancy is the plaintiff in this case The organization is filing as a third party
    beneficiary, as the purchaser of a product which has copylefted code on it. A consumer of a product such as
    this has the right to access the source code so that it can be modified, studied, and redistributed (under the
    appropriate license conditions).

    Q: What makes this different than other GPL compliance lawsuits?

    In the past, the plaintiffs have always been copyright holders of the specific GPL code. In this case Software
    Freedom Conservancy is demonstrating that it's not just the copyright holders, but also the receivers of the
    licensed code which are entitled to their rights.

    Q: What type of case is this? How does it compare to previous litigation by Software
    Freedom Conservancy regarding the GPL?
    Previously, Software Freedom Conservancy filed as a copyright holder in federal court, or coordinated or
    funded litigation by other copyright holders in copyright cases in the U.S. and Germany. This is an example of
    how, historically, GPL litigation has focused on the rights of the developers. However, the rights assured by
    the GPL are actually not intended primarily for the original developers, but rather for people who purchase
    products that contain GPL’d software. That is what makes this litigation unique and historic in terms of
    defending consumer rights It is the first case that focuses on the rights of individual consumers as third party
    beneficiaries of the GPL.

    Q: Why are you filing a third-party beneficiary claim instead of a copyright claim?
    For too long, GPL enforcement has focused only on the rights of developers, who are often not the ones
    impacted by the technology in question. Some of those same developers even have lucrative jobs working for
    the various companies that violate the GPL. The GPL was designed to put the rights of hobbyists, individual
    developers, consumers, small companies, and nonprofit organizations on equal footing with big companies.
    With the advent of more contributions to GPL’d software coming from for-profit multinational corporations
    and fewer from individuals, the rights of these other parties are often given second class billing The third
    party beneficiary claim prioritizes the consumers, who are the users and the most important beneficiaries of
    the rights under GPL.

    Q: Are you saying the rights of developers under the GPL are not important?
    Not at all! Most would agree that individual developers care deeply about the software freedom of users. They
    are the artists who create the amazing FOSS on which all of us rely However, as Francis Ford Coppola once
    said (paraphrased), “to understand who holds the power in any culture, look not to the artists but who employs
    the artists”—a quote which suits this situation well. Large multinational corporations have co-opted FOSS for
    their own bottom lines. While many developers privately cheer Software Freedom Conservancy’s efforts and
    donate money to this cause, they fear the power that their employers exert and have asked Software Freedom
    Conservancy to fight for the software freedom of users

    Q: Why is this important for the future of developers?

    The next generation of developers comes from the users of today. The golden age of FOSS that the industry
    now enjoys came to fruition from the counterculture created by FOSS activists in the 1990s and early 2000s
    During this time, Linux and other GPL’d software was considered just a curiosity (and was even accused of
    being anti-American). Nevertheless, the rights assured by the GPL ultimately led to a new generation of
    software developers learning how to build Linux and all the amazingly useful FOSS around it. To recruit a
    diverse group of the next generation of enthusiastic developers, we must ensure that the rights under GPL are

https://sfconservancy.org/press/qanda.html                                                                             3/6
         Case
3/26/22, 11:22 AM8:21-cv-01943-JLS-KES      DocumentPress
                                                       24-9- Software
                                                               FiledFreedom
                                                                      04/22/22     Page 5 of 7 Page ID #:306
                                                                            Conservancy

    available to every single individual, consumer and hobbyist around the globe. That is what this lawsuit is
    about.

    Q: If the goal is to fight for all consumer rights, why not file this lawsuit as a class
    action?
    Forcing consumers to fight for their individual rights is one way that for-profit corporations exert their
    inappropriate power. Actions such as this lawsuit seek to disrupt this power dynamic by asserting that all
    consumers of copylefted code deserve the opportunity to know, access and modify the code on their devices.
    However, expecting all consumers to have to personally participate in that process not only puts an undue
    burden on them, it simply is not realistic. It is not how change happens. Furthermore, pursuant to “The
    Principles of Community Oriented GPL Enforcement,” the lawsuit does not prioritize financial remedy over
    compliance. This lawsuit seeks the most important remedy for the public good: release of the Complete,
    Corresponding Source (CCS) for all GPL’d components on Vizio TVs. Once that is achieved, the benefit is
    immediately available to not only all who purchased a Vizio TV, but also to the entire FOSS community.

    Q: What are “The Principles of Community Oriented GPL Enforcement”?

    In 2016, Software Freedom Conservancy published “The Principles of Community-Oriented GPL
    Enforcement” in response to those who might use copyleft licenses for their own financial gain. Software
    Freedom Conservancy is part of a long tradition of using copyleft enforcement as intended: to further the
    rights and freedoms of individual users, consumers, and developers. Pursuant to those principles, Software
    Freedom Conservancy never prioritizes financial gain over assuring the rights guaranteed by the GPL are
    upheld.

    Q: Are the court documents released? Does that relate to why the litigation was brought
    in the U.S.?

    Software Freedom Conservancy brought this litigation within the U.S. specifically because litigation in this
    country is completely public. Historically, Germany has been one of the most popular venues for GPL
    litigation but it also has a huge downside: the German legal system keeps all details of the cases private and
    there is little transparency.

    Q: Who is funding this lawsuit?
    This lawsuit is central to the mission of Software Freedom Conservancy. The organization has received grants
    from Amateur Radio Digital Communications (ARDC) to support GPL compliance work. As a nonprofit,
    charitable donations are also an important source of funding to carry out the work. This combined financial
    support allowed for this litigation to begin. However, continued donor support will be vital since litigation like
    this is quite expensive.

    Q: How can someone make a donation?
    To make a tax-deductible donation to Software Freedom Conservancy, go to sfconservancy.org/donate. The
    best way to support this important work is to join as an official Sustainer. Details on that program are
    available at sfconservancy.org/sustainer.

    Q: Why must you file a lawsuit? Isn’t there any other way to convince Vizio to comply
    with the GPL?


https://sfconservancy.org/press/qanda.html                                                                               4/6
Case 8:21-cv-01943-JLS-KES Document 24-9 Filed 04/22/22 Page 6 of 7 Page ID #:307
Case 8:21-cv-01943-JLS-KES Document 24-9 Filed 04/22/22 Page 7 of 7 Page ID #:308
